Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 1 of 98




  EXHIBIT 31
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 2 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 3 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 4 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 5 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 6 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 7 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 8 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 9 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 10 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 11 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 12 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 13 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 14 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 15 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 16 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 17 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 18 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 19 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 20 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 21 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 22 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 23 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 24 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 25 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 26 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 27 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 28 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 29 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 30 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 31 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 32 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 33 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 34 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 35 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 36 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 37 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 38 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 39 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 40 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 41 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 42 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 43 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 44 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 45 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 46 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 47 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 48 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 49 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 50 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 51 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 52 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 53 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 54 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 55 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 56 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 57 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 58 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 59 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 60 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 61 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 62 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 63 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 64 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 65 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 66 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 67 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 68 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 69 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 70 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 71 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 72 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 73 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 74 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 75 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 76 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 77 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 78 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 79 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 80 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 81 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 82 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 83 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 84 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 85 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 86 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 87 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 88 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 89 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 90 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 91 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 92 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 93 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 94 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 95 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 96 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 97 of 98
Case 3:21-cv-07559-WHA   Document 66-6   Filed 06/15/21   Page 98 of 98
